                       UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF LOUISIANA



    UNITED STATES ex rel. JOSHUA
    NEMZOFF,                                        CIVIL ACTION No. 2:19-cv-11680 c/w
                                                    19-11682
                       Plaintiffs,
                                                    SECTION: “P” (5)
                v.
                                                    JUDGE DARREL J. PAPILLION

    LOUISIANA CHILDREN’S MEDICAL
    CENTER, INC., ET AL.,                           MAG. JUDGE MICHAEL NORTH

                       Defendants.



      DEFENDANTS’ CONSOLIDATED MOTION TO DISMISS SECOND AMENDED
                     COMPLAINT’S “LINCCA” CLAIMS
        For the reasons set forth in the attached memorandum of law in support of this motion,

Defendants Louisiana Children’s Medical Center, Inc., West Jefferson Holdings, LLC, United

Professionals Company, LLC, Ochsner Clinic Foundation, Gjerset &Lorenz LLP, CHRISTUS

Health Central Louisiana, MidAmerica Division, Inc.,1 Baton Rouge General Medical Center,

General Health System, Kendall Johnson, Scott Posecai, Maurice Lagarde III, Stephen Wright,

Warner Thomas, Bobby Brannon, Patrick Quinlan, Michael Hulefeld, Chris Karam, Scott

Merryman, Kim Kelsch, Dionne Viator, Nancy Cassagne, and Peter November, by and through

their attorneys, hereby move this Honorable Court to dismiss Relator’s Second Amended

Complaint’s “LINCCA” claims pursuant to Federal Rule of Civil Procedure 12(b)(6).

        WHEREFORE, Defendants respectfully request that this Court dismiss Relator’s Second


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 MidAmerica Division, Inc. is incorrectly named in the caption of this action as HCA MidAmerica
Division.
Amended Complaint’s “LINCCA” claims with prejudice.


      Respectfully submitted this 20th day of December, 2023.

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                                CERTIFICATE OF SERVICE

       I do hereby certify that on this 20th day of December, 2023, a copy of the foregoing was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent by operation of the court’s electronic filing system to all parties entitled to notice by

electronic notification.

                                                   /s/ Abid R. Qureshi
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